        Case 1:21-cr-00175-TJK Document 348-7 Filed 04/29/22 Page 1 of 2




                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                     March 4, 2022

Via Email and Electronic File Transfer

 Lisa Costner                                    Carmen D. Hernandez
 Ira Knight                                      7166 Mink Hollow Road
 Federal Public Defender MDNC                    Highland, MD 20777
 251 N. Main St. Suite 849
 Winston-Salem NC 27101

 J. Daniel Hull                                  Nicholas Smith
 Hull McGuire PC                                 7 East 20th Street
 888 Seventeenth Street, NW                      Suite 4R
 Suite 1200                                      New York, NY 10003
 Washington, DC 20006

                Re:   United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       We write to memorialize another production related to the above-captioned case as part of
the government’s efforts to produce preliminary discovery on an ongoing basis, including
discovery produced in other Capitol cases that may be relevant to your clients. Today the
government made available materials from:

       United States v. Gilbert Fonticoba, 21-cr-638 (TJK)
       File: 2022.02.28 Fonticoba Production.zip

       United States v. Zachary Johnson, Dion Rajewski, Alan Fischer, III, 22-cr-11 (RJL)
       Files: 2022.03.03 Johnson Rajewski Fischer Production.zip
              2022.02.25 Johnson Rajewski Production.zip

       United States v. Arthur Jackman, 21-cr-378-TJK-1
       File: 2022.02.25 Jackman Production.zip
        Case 1:21-cr-00175-TJK Document 348-7 Filed 04/29/22 Page 2 of 2




       United States v. Kevin Tuck (21-cr-378-TJK-4), Nathaniel Tuck (21-cr-378-TJK-5)
       Files: 2022.01.28 Tucks X Disco.zip, 2022.01.31 Tucks X Disco.zip,
              2022.02.04 Tucks X Disco.zip, 2022.02.23 Tucks X Disco.zip

       United States v. Edward George, 21-cr-378-TJK-3
       File: 2022.02.28 George X Disco.zip

        These materials and related discovery correspondence are available for download from
USAfx. For purposes of this cross-discovery, all of the materials are designated as at least
Sensitive. Any materials designated in the original production as Highly Sensitive are designated
Highly Sensitive in this case as well.

        Please let us know if you have been unable to access and download the materials for your
use in this case.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                    Sincerely yours,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                            By:            /s/
                                                    Luke M. Jones
                                                    Erik M. Kenerson
                                                    Jason B.A. McCullough
                                                    Assistant United States Attorneys
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




                                               2
